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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

WACO DIVISION
STC.UNM,
Plaintiff,
VS.
No. 6:19-CV-428-ADA
APPLE INC.,
Defendant.

 

 

DECLARATION OF ROHIT GAIKWAD
I, Rohit Gaikwad, hereby declare and state as follows:

1. I am over 18 years of age and competent to make this declaration. If called to testify
as a witness, I would testify truthfully under oath as to each of the statements in this declaration.

2. I am employed as a Vice-President of Research & Development (“R&D”) at
Broadcom Inc. (“Broadcom”) in San Diego, California. I have been employed by Broadcom and its
predecessors since February 2000.

3. I provide this declaration in support of Apple Inc.’s Motion to Transfer Venue to
the Northern District of California. Unless otherwise indicated below, the statements in this
declaration are based on my personal knowledge, my review of corporate records maintained by
Broadcom, and/or information that I believe to be true after a reasonable investigation.

4, The Broadcom San Jose facility is Broadcom’s headquarters. San Jose is located in
Santa Clara County, which I am informed is located within the Northern District of California.

5. I have reviewed the listing of “Accused Instrumentalities” in Plaintiffs Original

Complaint for Patent Infringement (the “Complaint”) and note that these “Accused

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Instrumentalities” are alleged in paragraph 45 of the Complaint to be “adapted to operate in and
with wireless telecommunications networks that at least comply with the requirements of the IEEE
802.1 lac wireless networking standard.”

6. The “Accused Instrumentalities” listed in the Complaint contain Broadcom
semiconductor chips that support Wi-Fi functionality, including support for at least certain
portions of the IEEE 802.11ac specification.

7. Broadcom is a “fabless” semiconductor company, meaning that while it designs and
develops semiconductor chips, it does not itself manufacture those chips. Rather, it relies on third-
party fabricators in Asia to produce those chips.

8. The vast majority of the research, design, and development of the Broadcom chips
that provide Wi-Fi functionality for the “Accused Instrumentalities” (the “Broadcom Chips”) takes
place in California. Specifically, the Broadcom Chips are developed within Broadcom’s Wireless
Communications and Connectivity (“WCC”) business unit, which has members located in San
Jose, Irvine, and San Diego, California. Some engineering support is provided by Broadcom
employees in India, but these employees serve merely in support roles to the engineers in California.
None of the engineering nor design of the Broadcom Chips takes place in Texas.!

9. Broadcom team members have regular in-person meetings with Apple’s engineers
to ensure that Apple’s requirements for the Broadcom Chips are met, that development and

delivery schedules are complied with, and that any issues are addressed in a timely manner. These

 

' Broadcom has a facility in Austin, Texas, but that facility develops other types of chips
than the chips providing the Wi-Fi functionality at issue in this lawsuit. Based on my investigation,
none of the Broadcom chips developed at the Austin facility provide support for Wi-Fi
communications or the IEEE 802.1 lac specification.

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meetings normally take place at Apple’s facilities in Cupertino, California, which ] understand is
also located in the Northern District of California. On occasion, because of logistical issues, the
meetings have been held at Broadcom’s facilities in San Jose. 1 am unaware of any meeting between
Broadcom and Apple relating to Wi-Fi technology or the Broadcom Chips ever taking place in
Texas.

10. Through my work at Broadcom, I am familiar with Wi-Fi technology, including the
IEEE 802.1 lac functionality that is at issue in this lawsuit. I have worked as a Design Engineer for
products containing Wi-Fi technology for more than 15 years. During that time, my work has
involved many of the Broadcom chips that provide Wi-Fi functionality in the Accused Instrumen-
talities. My responsibilities require me to understand the requirements and capabilities of the IEEE
802.11 specifications.

11. Asa VP of RGD at Broadcom, I am knowledgeable about the Broadcom Chips that
are implicated in this lawsuit. In that role, | have worked closely with Broadcom’s engineers and
designers on the development of those chips. I have also worked with Apple’s engineers to ensure
successful implementation of the Broadcom Chips into Apple’s products to provide those products
with Wi-Fi functionality.

12. I am familiar with Broadcom’s organizational structures, including the Broadcom
teams relevant to this case. My work with Broadcom’s customers, including Apple, requires that I
know which individuals and teams at Broadcom are responsible for each aspect of the research,
design, and development of the Broadcom Chips.

13. Manas Deb is one individual at Broadcom with whom I work closely on the

development of Broadcom chips that provide Wi-Fi functionality, including those for use in Apple’s
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products. Mr. Deb is a Design Engineer and is responsible for Physical Layer Algorithms. Mr. Deb
works in Broadcom’s San Jose office.

14. Harish Kutagulla is another individual at Broadcom with whom I work closely on
the development of Broadcom chips that provide Wi-Fi functionality, including those for use in
Apple’s products. Mr. Kutagulla is a Design Engineer and is responsible for Physical Layer VLSI
design. Mr. Kutagulla works in Broadcom’s San Jose office..

15. | The aforementioned Broadcom employees and I all reside and work in California
and have no connections to the State of Texas. As ] mentioned, except for low-level work that is
performed abroad, all of the design work for the Broadcom Chips occurs in California, at Broadcom
offices in San Jose, Irvine, and San Diego. Thus, there are numerous other Broadcom engineers
located in California that have knowledge of design and development of Broadcom’s chips that
provide Wi-Fi functionality.

16. Because Broadcom’s California offices are home to the design and development of
the Broadcom’s Chips, potentially relevant documents relating to the Wi-Fi technology
incorporated into those chips, including Broadcom’s technical documentation, are generated in
California.

17. As discussed above, Broadcom’s corporate headquarters is located in San Jose,
California. As such, Broadcom’s marketing, leadership, accounting, and financial departments
telating to the chips that Broadcom supplies for Apple products are located primarily in San Jose.

18. To the extent that Broadcom is required to produce any witnesses in connection
with this litigation, such witnesses would be located in California.

19. 1 am not aware of any relevant documents or anticipated witnesses of Broadcom

located in Texas.
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I declare under penalty of perjury that the foregoing is true and correct. Signed October

2 0 4, 2019.
Ver Lad

Rohit GaikWwad
